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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

Plaintiff,

v.

SCOTT T. WELDON and
ANDREA R. FIELDS,

Defendants                                                 No. 10-30066-DRH



                                     ORDER

HERNDON, Chief Judge:

             Now before the Court is Defendant Weldon’s December 20, 2010 third

motion to continue (Doc. 40). Defendant states that he intends to plead but that he

needs additional time for counsel to revisit the Government’s charging decision. The

Government does not object. The Court being fully advised in the premises finds that

Weldon needs additional time. The Court finds that pursuant to 18 U.S.C. §

3161(h)(7)(A), the ends of justice served by the granting of such continuance

outweigh the best interests of the public and all Defendants in a speedy trial. The

Court also finds that to deny a continuance of the matter would result in a

miscarriage of justice.

             Therefore, the Court GRANTS Defendant Weldon’s third motion to



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continue (Doc. 40). The Court CONTINUES the jury trial scheduled for January 18,

2011 to March 7, 2011, at 9:00 a.m. The time from the date the original motion was

filed, December 20, 2010, until the date to which the trial is rescheduled, March 7,

2011, is excludable time for the purposes of speedy trial.

             Should either, party believe that a witness will be required to travel on

the Justice Prisoner and Alien Transportation System (JPATS) in order to testify at

the trial of this case, a writ should be requested at least two months in advance.

             IT IS SO ORDERED.

             Signed this 21st day of December, 2010.

                                                                     David R. Herndon
                                                                     2010.12.21
                                                                     12:26:24 -06'00'
                                                    Chief Judge
                                                    United States District Court




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